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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


    Jamere Lewis,                                                Case No. 22-cv-407 (PJS/TNL)
                           Plaintiff,

    v.

    Equifax Information Services, LLC;                              PROTECTIVE ORDER
    Experian Information Solutions, Inc.;
    Navient Solutions, LLC obo US
    Department of Education; and Trans
    Union, LLC,

                           Defendants.


            This matter comes before the Court on the Plaintiff, Defendant Navient Solutions,

LLC, and Defendant Trans Union, LLC’s 1 Stipulation for Protective Order (“Stipulation”),

ECF No. 37. Based upon the Stipulation and pursuant to Fed. R. Civ. P. 26(c), IT IS

HEREBY ORDERED that confidential information be disclosed only as follows:

         1) Definitions. As used in this protective order:

                a. “attorney” means an attorney who has appeared in this action;

                b. “confidential document” means a document designated as confidential

                   under this protective order;

                c. to “destroy” electronically stored information means to delete from all

                   databases, applications, and file systems so that the information is not

                   accessible without the use of specialized tools or techniques typically used

1
 Defendant Equifax Information Services, LLC was previously voluntarily dismissed from this litigation. See ECF
No. 21. Plaintiff settled with Defendant Experian Information Solutions, Inc. ECF No. 24, 28. Plaintiff has also
now settled with Defendant Trans Union, LLC. ECF No. 38.
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         by a forensic expert;

      d. “document” means information disclosed or produced in discovery,

         including at a deposition;

      e. “notice” or “notify” means written notice;

      f. “party” means a party to this action; and

      g. “protected document” means a document protected by a privilege or the

         work-product doctrine.

2) Designating a Document or Deposition as Confidential.

      a. A party or non-party disclosing or producing a document may designate it

         as confidential if the party or non-party contends that it contains

         confidential or proprietary information.

      b. A party or non-party may designate a document as confidential by

         conspicuously marking each page with the word “confidential.”

      c. Deposition testimony may be designated as confidential:

              1. on the record at the deposition; or

              2. after the deposition, by promptly notifying the parties and those

                  who were present at the deposition.

      d. If a witness is expected to testify as to confidential or proprietary

         information, a party or non-party may request that the witness’s deposition

         be taken in the presence of only those persons entitled to receive

         confidential documents.



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3) Who May Receive a Confidential Document.

     a. A confidential document may be used only in this action.

     b. No person receiving a confidential document may reveal it, except to:

             1. the court and its staff;

             2. an attorney or an attorney’s partner, associate, or staff;

             3. a person shown on the face of the confidential document to have

                authored or received it;

             4. a court reporter or videographer retained in connection with this

                action;

             5. a party (subject to paragraph 3(c)); and

             6. any person who:

                  A. is retained to assist a party or attorney with this action; and

                  B. signs a declaration that contains the person’s name, address,

                      employer, and title, and that is in substantially this form:

                             I have read, and agree to be bound by, the protective
                      order in the case captioned Lewis v. Equifax Information
                      Services, LLC et al., Case No. 22-cv-407 (PJS/TNL), in the
                      United States District Court for the District of Minnesota. As
                      soon as my work in connection with that action has ended,
                      but not later than 30 days after the termination of that action
                      (including any appeals), I will return or destroy any
                      confidential document that I received, any copy of or excerpt
                      from a confidential document, and any notes or other
                      document that contains information from a confidential
                      document.
                      I declare under penalty of perjury that the foregoing is true
                      and correct.
     c. A party or non-party may supplement the “confidential” mark (see

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          paragraph 2(b)) with the words “attorney’s eyes only,” in which case a

          confidential document so designated may not be revealed to another party.

      d. If a confidential document is revealed to someone not entitled to receive it,

          the parties must make reasonable efforts to retrieve it.

4) Serving This Protective Order on a Non-Party. A party serving a subpoena on

   a non-party must simultaneously serve a copy of this protective order and of Local

   Rule 5.6.

5) Correcting an Error in Designation. A party or non-party who discloses or

   produces a confidential document not designated as confidential may, within 7

   days after discovering the error, provide notice of the error and produce a copy of

   the document designated as confidential.

6) Use of a Confidential Document in Court.

      a. Filing. This protective order does not authorize the filing of any document

          under seal. The sealing of entire pleadings, memoranda of law, exhibits,

          and the like is strongly discouraged. No document shall be filed under

          seal unless such document or information therein is genuinely

          confidential and/or there are compelling reasons to do so. Any party

          seeking to file a document under seal shall specifically review each

          document and the information therein to limit sealing only to the

          extent necessary.      A confidential document may be filed only in

          accordance with Local Rule 5.6. Counsel shall provide the Court with

          two courtesy copies of the unredacted documents with the redacted

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         information highlighted in yellow. Any joint motion made pursuant to

         Local Rule 5.6 before United States Magistrate Judge Tony N. Leung

         shall conform to Exhibit A attached hereto.

      b. Presentation at a hearing or trial. A party intending to present another

         party’s or a non-party’s confidential document at a hearing or trial must

         promptly notify the other party or the non-party so that the other party or

         the non-party may seek relief from the court.

7) Changing a Confidential Document’s Designation.

      a. Document disclosed or produced by a party. A confidential document

         disclosed or produced by a party remains confidential unless the parties

         agree to change its designation or the court orders otherwise.

      b. Document produced by a non-party. A confidential document produced by

         a non-party remains confidential unless the non-party agrees to change its

         designation or the court orders otherwise after providing an opportunity for

         the non-party to be heard.

      c. Changing a designation by court order. A party who cannot obtain

         agreement to change a designation may move the court for an order

         changing the designation. If the motion affects a document produced by a

         non-party then, with respect to the motion, that non-party is entitled to the

         same notice and opportunity to be heard as a party. The party or non-party

         who designated a document as confidential must show that the designation

         satisfies Fed. R. Civ. P. 26(c).

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8) Handling a Confidential Document after Termination of Litigation.

      a. Within 60 days after the termination of this action (including any appeals),

         each party must:

              1. return or destroy all confidential documents; and

              2. notify the disclosing or producing party or non-party that it has

                   returned or destroyed all confidential documents within the 60-day

                   period.

      b. Notwithstanding paragraph 8(a), each attorney may retain a copy of any

         confidential document submitted to the court.

9) Inadvertent Disclosure or Production to a Party of a Protected Document.

      a. Notice.

              1. A party or non-party who discovers that it has inadvertently

                   disclosed or produced a protected document must promptly notify

                   the receiving party and describe the basis of the claim of privilege

                   or protection. If the party or non-party provides such notice and

                   description, the privilege or protection is not waived.

              2. A party who discovers that it may have received an inadvertently

                   disclosed or produced protected document must promptly notify

                   the disclosing or producing party or non-party.

      b. Handling of Protected Document. A party who is notified or discovers that

         it may have received a protected document must comply with Fed. R. Civ.

         P. 26(b)(5)(B).

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10) Security Precautions and Data Breaches.

      a. Each party must make reasonable efforts to protect the confidentiality of

          any confidential document disclosed or produced to that party.

      b. A party who learns of a breach of confidentiality must promptly notify the

          disclosing or producing party or non-party of the scope and nature of that

          breach and make reasonable efforts to remedy the breach.

11) Survival of Obligations. The obligations imposed by this protective order survive

   the termination of this action.

12) Prior Orders. All prior consistent orders remain in full force and effect.

13) Remedies. Failure to comply with any provision of this protective order or

   any other prior consistent order shall subject the non-complying party, non-

   complying counsel and/or the party such counsel represents to any and all

   appropriate remedies, sanctions and the like, including without limitation:

   assessment of costs, fines and attorneys’ fees and disbursements; waiver of

   rights to object; exclusion or limitation of witnesses, testimony, exhibits, and

   other evidence; striking of pleadings; complete or partial dismissal with




                                [Continued on next page.]




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     prejudice; entry of whole or partial default judgment; and/or any other relief

     that this Court may from time to time deem appropriate.



Date: May   9     , 2022                           s/ Tony N. Leung
                                            Tony N. Leung
                                            United States Magistrate Judge
                                            District of Minnesota


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